Case 2:03-Cv-02932-.]PI\/|-tmp Document 44 Filed 07/19/05 Page 1 of 2 Page|D 68

IN TH.E UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE FILED B‘|' __ D. .
WESTERN DIVISION

 

NICOLAS CARRANZA ,

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ANA FATRICIA cHAsz, cEcIL:A )
sANTOS, JosE FRANCISCO ) RMWSM.GOLAD
cALnERoN. JANE DoE, and ) CLEH_£ U_.S. Dt_STRt}TG{IBT
Jorm noE, ) witt E~.t~>;¥¢tPHtS
)
Plaintiffs, )
)
v. ) No. 03-2932-M1/P
)
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)

Defendant.

 

ORDER SETTING TELEPHONE CONFER.ENCE

 

The Court will hold a telephone conference on Mondayl July
25, 2005. at 10:30 a.m. to discuss the Plaintiffs' Motion for
Leave to File Motion for Summary Judgment Under Seal.
Plaintiffs' counsel shall initiate the telephone conference and

contact the Court with all of the parties on the line.

rci

IT IS SO ORDERED this day Of July, 2005.

lb~t@ mw

JO P. MCCALLA
I'I‘ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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Honorable Jc)n McCalla
US DISTRICT COURT

